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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                       ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                     2:12-cr-00463-JCM-VCF
                                                           ORDER
7     vs.

8     DENISE WILLIAMS,

9                            Defendant.

10

11            Before the court is the Motion for Defense Attorney to Appear Telephonically (#472).

12            IT IS HEREBY ORDERED that the Motion for Defense Attorney to Appear Telephonically

13   (#472) is GRANTED.

14            Mr. Gabriel Grasso may appear telephonically. The call in telephone number is (702) 868-4911,

15   access code: 123456. The call must be made five minutes prior to the hearing time. The court will join

16   the call and convene the proceedings. The call must be made on a land line. The use of a cell phone or

17   speaker phone during the proceedings is prohibited.

18            DATED this 23rd day of April, 2015.

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21                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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